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                         UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

NEALAN BHATT, Individually and on
Behalf of All Others Similarly Situated,

       Plaintiff,

v.                                                        Case No: 8:17-cv-2185-T-36AEP

TECH DATA CORPORATION, ROBERT
M. DUTKOWSKY, and CHARLES V.
DANNEWITZ,

       Defendants.


                           AMENDED RELATED CASE ORDER
                             AND TRACK THREE NOTICE
       It is hereby ORDERED that, no later than fourteen days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve

a certification as to whether the instant action should be designated as a similar or

successive case pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the

attached form NOTICE OF PENDENCY OF OTHER ACTIONS. It is

       FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is

designated a Track Three case.             All parties must comply with the requirements

established in Local Rule 3.05 for Track Three cases. Counsel and any unrepresented

party shall meet within sixty days after service of the complaint upon any defendant for

the purpose of preparing and filing a Case Management Report. The parties shall utilize

the attached Case Management Report form. Unless otherwise ordered by the Court,

a party may not seek discovery from any source before the meeting. Fed. R. Civ. P. 26

(d); Local Rule 3.05(c)(2)(B). Plaintiff is responsible for serving a copy of this notice and
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order with attachments upon each party no later than fourteen days after appearance of

the party.

December 29, 2017




Attachments: Notice of Pendency of Other Actions [mandatory form]
             Case Management Report [mandatory form]
             Magistrate Judge Consent / Letter to Counsel
             Magistrate Judge Consent Form / Entire Case
             Magistrate Judge Consent / Specified Motions

Copies to:   All Counsel of Record
             All Pro Se Parties
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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

NEALAN BHATT, Individually and on
Behalf of All Others Similarly Situated,,

         Plaintiff,

v.                                                         Case No: 8:17-cv-2185-T-36AEP

TECH DATA CORPORATION, ROBERT
M. DUTKOWSKY, and CHARLES V.
DANNEWITZ,

         Defendants.


                       NOTICE OF PENDENCY OF OTHER ACTIONS
         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____       IS         related to pending or closed civil or criminal case(s) previously filed
                       in this Court, or any other Federal or State court, or administrative
                       agency as indicated below:
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________

_____ IS NOT           related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.


Dated:


_____________________________
Counsel of Record or Pro Se Party
     [Address and Telephone]
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        Case 8:17-cv-02185-WFJ-AEP Document 36 Filed 12/29/17 Page 5 of 20 PageID 785
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Middle District of Florida

                      NEALAN BHATT                                      )
                              Plaintiff                                 )
                     v.                                                 )     Civil Action No.        8:17-cv-2185-T-36AEP
         TECH DATA CORPORATION, et al.                                  )
                           Defendants                                   )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

         Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
      IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P.
73.


Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                 UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Middle District of Florida

                    NEALAN BHATT                                       )
                           Plaintiff                                   )
                    v.                                                 )       Civil Action No. 8:17-cv-2185-T-36AEP
        TECH DATA CORPORATION, et al.                                  )
                         Defendants                                    )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available
to conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent
to have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

               Motions:




         Parties’ printed names                            Signatures of parties or attorneys                                Dates




                                                           Reference Order

      IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                   District Judge’s signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

NEALAN BHATT, Individually and on
Behalf of All Others Similarly Situated,,

          Plaintiff,

v.                                                    Case No: 8:17-cv-2185-T-36AEP

TECH DATA CORPORATION, ROBERT
M. DUTKOWSKY, and CHARLES V.
DANNEWITZ,

          Defendants.


                             CASE MANAGEMENT REPORT

          The parties have agreed on the following dates and discovery plan

pursuant to Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):



                        DEADLINE OR EVENT                        AGREED DATE

     Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.
     26(a)(1) as amended effective December 1, 2000)
     [Court recommends 30 days after CMR meeting]
     Certificate of Interested Persons and Corporate
     Disclosure Statement
     [Each party who has not previously filed must file
     immediately]
     Motions to Add Parties or to Amend Pleadings
     [Court recommends 1 - 2 months after CMR meeting]
     Disclosure of Expert Reports
     Plaintiff:
     Defendant:
     [Court recommends 1 - 2 months before discovery
     deadline to allow expert depositions]
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                    DEADLINE OR EVENT                            AGREED DATE
  Discovery Deadline
  [Court recommends 6 months before trial to allow time for
  dispositive motions to be filed and decided; all discovery
  must be commenced in time to be completed before this
  date]
  Dispositive Motions, Daubert, and Markman Motions
  [Court requires 5 months or more before trial term
  begins]
  Meeting In Person to Prepare Joint Final Pretrial
  Statement
  [14 days before Joint Final Pretrial Statement]
  Joint Final Pretrial Statement (Including a Single Set of
         Jointly-Proposed Jury Instructions and Verdict
   Form (a Word or WordPerfect® version may be e-
   mailed to the Chambers mailbox), Voir Dire Questions,
   Witness Lists, Exhibit Lists with Objections on
   Approved Form)
  [Court recommends 3 weeks before Final Pretrial
  Conference]
  All Other Motions Including Motions In Limine [Court
  recommends 3 weeks before Final Pre-trial Conference]
  Final Pretrial Conference [Court will set a date that is
  approximately 3 weeks before trial]
  Trial Briefs [Court recommends 2 weeks before Trial]
  Trial Term Begins
  [Local Rule 3.05 (c)(2)(E) sets goal of trial within 2 years
  of filing complaint in all Track Two cases; trial term must
  not be less than 4 months after dispositive motions
  deadline (unless filing of such motions is waived); district
  judge trial terms typically begin on the 1st business day
  of the first full week of each month; trials before
  magistrate judges will be set on a date certain after
  consultation with the parties]
  Estimated Length of Trial [trial days]
  Jury / Non-Jury
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                          DEADLINE OR EVENT                                     AGREED DATE
     Mediation
     Deadline:

     Mediator:
     Address:

     Telephone:

     [Absent arbitration, mediation is mandatory; Court
     recommends either 2 - 3 months after CMR meeting, or
     just after discovery deadline]
     All Parties Consent to Proceed Before Magistrate Judge                                 Yes____
                                                                                             No____

                                                                                Likely to Agree in
                                                                                     Future _____




I.        Meeting of Parties in Person

          Lead counsel must meet in person and not by telephone absent an order

permitting otherwise. Counsel will meet in the Middle District of Florida, unless counsel

agree on a different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A),1 a

meeting was held in person on ___________________ (date) at

(time)   at                               (place)   and was attended by:

                   Name                                       Counsel for (if applicable)




          1
              A copy of the Local Rules may be viewed at http://www.flmd.uscourts.gov.
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 II.    Pre-Discovery Initial Disclosures of Core Information

        Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

        Fed.R.Civ.P. 26, as amended effective December 1, 2000, provides that these

 disclosures are mandatory in Track Two and Track Three cases, except as stipulated by

 the parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes

 Middle District of Florida Local Rule 3.05, to the extend that Rule 3.05 opts out of the

 mandatory discovery requirements):

 The parties ____ have exchanged ____ agree to exchange (check one)

 information described in Fed.R.Civ.P. 26(a)(1)(A) - (D)

               on            by     (check one)                                 (date).

        Below is a description of information disclosed or scheduled for disclosure,

 including electronically stored information as further described in Section III below.




 III.   Electronic Discovery

        The parties have discussed issues relating to disclosure or discovery of

 electronically stored information (“ESI”), including Pre-Discovery Initial Disclosures of

 Core Information in Section II above, and agree that (check one):

        ___ No party anticipates the disclosure or discovery of ESI in this case;

        ___ One or more of the parties anticipate the disclosure or discovery of ESI in

 this case.
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 If disclosure or discovery of ESI is sought by any party from another party, then the

 following issues shall be discussed:2

        A. The form or forms in which ESI should be produced.




        B. Nature and extent of the contemplated ESI disclosure and discovery,

 including specification of the topics for such discovery and the time period for which

 discovery will be sought.

        C. Whether the production of metadata is sought for any type of ESI, and if so,

 what types of metadata.



        D. The various sources of ESI within a party’s control that should be searched

 for ESI, and whether either party has relevant ESI that it contends is not reasonably

 accessible under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving

 and reviewing that information.



        E. The characteristics of the party’s information systems that may contain

 relevant ESI, including, where appropriate, the identity of individuals with special

 knowledge of a party’s computer systems.



        F. Any issues relating to preservation of discoverable ESI.



        2
           See Generally: Rules Advisory Committee Notes to the 2006 Amendments to
 Rule 26 (f) and Rule 16.
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         G. Assertions of privilege or of protection as trial-preparation materials,

 including whether the parties can facilitate discovery by agreeing on procedures and, if

 appropriate, an Order under the Federal Rules of Evidence Rule 502. If the parties

 agree that a protective order is needed, they shall attach a copy of the proposed order

 to the Case Management Report. The parties should attempt to agree on protocols

 that minimize the risk of waiver. Any protective order shall comply with Local Rule 1.09

 and Section IV. F. below on Confidentiality Agreements.



         H. Whether the discovery of ESI should be conducted in phases, limited, or

 focused upon particular issues.



 Please state if there are any areas of disagreement on these issues and, if so,

 summarize the parties’ position on each:

 _____________________________________________________________________

 ______________________________________________________________________

 ______________________________________________________________________

 ______________________________________________________________________

 If there are disputed issues specified above, or elsewhere in this report, then (check

 one):

         ___ One or more of the parties requests that a preliminary pre-trial conference

 under Rule 16 be scheduled to discuss these issues and explore possible resolutions.

 Although this will be a non-evidentiary hearing, if technical ESI issues are to be
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 addressed, the parties are encouraged to have their information technology experts with

 them at the hearing.

        If a preliminary pre-trial conference is requested, a motion shall also be

 filed pursuant to Rule 16(a), Fed. R. Civ. P.

        ___ All parties agree that a hearing is not needed at this time because they

 expect to be able to promptly resolve these disputes without assistance of the Court.



 IV.    Agreed Discovery Plan for Plaintiffs and Defendants

       A.   Certificate of Interested Persons and Corporate Disclosure
 Statement —

        This Court has previously ordered each party, governmental party, intervenor,

 non-party movant, and Rule 69 garnishee to file and serve a Certificate of Interested

 Persons and Corporate Disclosure Statement using a mandatory form. No party may

 seek discovery from any source before filing and serving a Certificate of Interested

 Persons and Corporate Disclosure Statement. A motion, memorandum, response, or

 other paper — including emergency motion — is subject to being denied or

 stricken unless the filing party has previously filed and served its Certificate of

 Interested Persons and Corporate Disclosure Statement. Any party who has not

 already filed and served the required certificate is required to do so immediately.

        Every party that has appeared in this action to date has filed and served a

 Certificate of Interested Persons and Corporate Disclosure Statement, which remains

 current:



 _______ Yes
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 _______ No       Amended Certificate will be filed by ____________________

                  (party) on or before ____________________ (date).
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        B.     Discovery Not Filed —



        The parties shall not file discovery materials with the Clerk except as provided in

 Local Rule 3.03. The Court encourages the exchange of discovery requests on diskette.

 See Local Rule 3.03 (f). The parties further agree as follows:




        C.     Limits on Discovery —



        Absent leave of Court, the parties may take no more than ten depositions per side

 (not per party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Local Rule 3.02(b).

 Absent leave of Court, the parties may serve no more than twenty-five interrogatories,

 including sub-parts. Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent leave of Court or

 stipulation of the parties each deposition is limited to one day of seven hours.

 Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on discovery.

 The Court will consider the parties’ agreed dates, deadlines, and other limits in entering

 the scheduling order. Fed.R.Civ.P. 29. In addition to the deadlines in the above table,

 the parties have agreed to further limit discovery as follows:



               1.     Depositions
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              2.     Interrogatories




              3.     Document Requests




              4.     Requests to Admit




              5.     Supplementation of Discovery




       D.     Discovery Deadline —



       Each party shall timely serve discovery requests so that the rules allow for a

 response prior to the discovery deadline. The Court may deny as untimely all motions

 to compel filed after the discovery deadline. In addition, the parties agree as follows:
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        E.     Disclosure of Expert Testimony —



        On or before the dates set forth in the above table for the disclosure of expert

 reports, the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert

 testimony on direct examination at trial will be limited to the opinions, basis, reasons, data,

 and other information disclosed in the written expert report disclosed pursuant to this

 order. Failure to disclose such information may result in the exclusion of all or part of the

 testimony of the expert witness. The parties agree on the following additional matters

 pertaining to the disclosure of expert testimony:




        F.     Confidentiality Agreements —

        Whether documents filed in a case may be filed under seal is a separate issue

 from whether the parties may agree that produced documents are confidential. The

 Court is a public forum, and disfavors motions to file under seal. The Court will permit

 the parties to file documents under seal only upon a finding of extraordinary

 circumstances and particularized need. See Brown v. Advantage Engineering, Inc., 960

 F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir.

 1985). A party seeking to file a document under seal must file a motion to file under seal
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 requesting such Court action, together with a memorandum of law in support.          The

 motion, whether granted or denied, will remain in the public record.



          The parties may reach their own agreement regarding the designation of materials

 as “confidential.”      There is no need for the Court to endorse the confidentiality

 agreement.       The Court discourages unnecessary stipulated motions for a protective

 order.        The Court will enforce appropriate stipulated and signed confidentiality

 agreements.        See Local Rule 4.15.     Each confidentiality agreement or order shall

 provide, or shall be deemed to provide, that “no party shall file a document under seal

 without first having obtained an order granting leave to file under seal on a showing of

 particularized need.” With respect to confidentiality agreements, the parties agree as

 follows:




          G.      Other Matters Regarding Discovery —




 V.       Settlement and Alternative Dispute Resolution.

          A.      Settlement —

                  The parties agree that settlement is
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 _____        likely ______ unlikely          (check one)



                  The parties request a settlement conference before a United States

 Magistrate Judge.

          yes ______ no________                 likely to request in future _______



         B.       Arbitration —

                  The Local Rules no longer designate cases for automatic arbitration, but the

 parties may elect arbitration in any case. Do the parties agree to arbitrate?

          yes ______              no ______            likely to agree in future ______

 _______ Binding                ________Non-Binding



         C.       Mediation —

                  Absent arbitration or a Court order to the contrary, the parties in every case

 will participate in Court-annexed mediation as detailed in Chapter Nine of the Court’s

 Local Rules. The parties have agreed on a mediator from the Court’s approved list of

 mediators as set forth in the table above, and have agreed to the date stated in the table

 above as the last date for mediation. The list of mediators is available from the Clerk,

 and is posted on the Court’s web site at http://www.flmd.uscourts.gov.

         D.       Other Alternative Dispute Resolution —

         The parties intend to pursue the following other methods of alternative dispute

 resolution:
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 Date: _____________________


 Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
 Unrepresented Parties.


 _____________________________________________________________________


 _____________________________________________________________________

 _____________________________________________________________________


 _____________________________________________________________________


 _____________________________________________________________________
